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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO



Civil Action No. 12-cv-00759-LTB

RUSTY LEE SARVIS,

      Applicant,

v.

ANGEL MEDINA, Warden, and
THE ATTORNEY GENERAL OF THE STATE OF COLORADO,

      Respondents.



                                      JUDGMENT


      Pursuant to and in accordance with the Order of Dismissal entered by Lewis T.

Babcock, Senior District Judge, on January 23, 2013, it is hereby

      ORDERED that Judgment is entered in favor of Respondents and against

Applicant.

      DATED at Denver, Colorado, this 23 day of January, 2013.

                                        FOR THE COURT,

                                        JEFFREY P. COLWELL, Clerk


                                        By: s/ S. Grimm
                                            Deputy Clerk
